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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION




 IN RE: EQUIFAX, INC. CUSTOMER DATA               CIVIL ACTION FILE
 SECURITY BREACH LITIGATION,
                                                  NO. 1:17-md-2800-TWT


                                          ORDER


      The mandate of the United States Court of Appeals having been read and
considered, it is


      Ordered and Adjudged that the mandate of the United States Court of Appeals
be and it hereby is made the judgment of this Court.


      Dated at in Atlanta, Georgia this      day of August, 2021.




                                            UNITED STATES DISTRICT JUDGE
